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15

16                            UNITED STATES DISTRICT COURT
17                        CENTRAL DISTRICT OF CALIFORNIA
18

19   CMI USA, INC.,                                Case No. 5:24-cv-00353
20               Plaintiff,                        COMPLAINT FOR PATENT
                                                   INFRINGEMENT
21         v.
                                                   DEMAND FOR JURY TRIAL
22   SHENZHEN APALTEK CO., LTD.;
     GUANDONG APALTEK LIQUID
23   COOLING TECHNOLOGY CO.,
24   LTD.; SILVERSTONE
     TECHNOLOGY CO., LTD.;
25   SILVERSTONE TECHNOLOGY,
     INC.; ENERMAX TECHNOLOGY
26   CORP.; and ENERMAX USA,
27              Defendants.
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 1         Plaintiff CMI USA, Inc. (“Plaintiff”) brings this action against Defendants
 2   Shenzhen Apaltek Co., Ltd.; Guandong Apaltek Liquid Cooling Technology Co.,
 3   Ltd.; Silverstone Technology Co., Ltd.; Silverstone Technology, Inc.; Enermax
 4   Technology Corp.; and Enermax USA (collectively, “Defendants”) to address
 5   Defendants’ infringement of certain CMI USA patents, and alleges as follows:
 6                               JURISDICTION AND VENUE
 7         1.     This is an action for patent infringement arising under the patent laws of
 8   the United States, Title 35 of the United States Code. This Court has exclusive
 9   subject matter jurisdiction under 28 U.S.C. §§ 1331 and 1338(a).
10         2.     This Court has personal jurisdiction over Defendants because they have
11   committed and continue to commit acts of infringement in violation of 35 U.S.C. §
12   271 and place infringing products into the stream of commerce, with the knowledge
13   or understanding that such products are sold in the State of California, including in
14   this District. The acts by Defendants cause injury to Plaintiff within this District.
15   Upon information and belief, Defendants derive revenue from the sale of infringing
16   products within this District, expect their actions to have consequences within this
17   District, and derive revenue from interstate and international commerce.
18         3.     Venue in this Court is proper under the provisions of 28 U.S.C. §§
19   1391(b), (c), and (d) and 1400(b) as well as under the “alien venue rule.” See
20   Brunette Machine Works, Ltd. v. Kockum Indus., Inc., 406 U.S. 706, 711-14 (1972);
21   In re HTC Corp., 889 F.3d 1349, 1357 (Fed. Cir. 2018). Defendants all either reside
22   in this District or are foreign entities that can be sued in any district. In addition,
23   SSTI and EUSA have regular and established places of business in this District at
24   their respective headquarters.
25                                        THE PARTIES
26         4.     Plaintiff CMI USA, Inc. is a corporation organized under the laws of the
27   State of California with a principal place of business at 1 N. Indian Hill Blvd., Suite
28   200, Claremont, CA 91711.
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 1          5.    On information and belief, Defendant Shenzhen Apaltek Co., Ltd.
 2   (“SAC”) is a corporation organized under the laws of China with a principal place of
 3   business at 2907-2908, Building 2, OCT Creative Building, North Station
 4   Community, Minzhi Street, Longhua District, Shenzhen, Guangdong Province,
 5   People’s Republic of China. On information and belief, SAC does business itself, or
 6   through its subsidiaries, affiliates, and agents, in the State of California and this
 7   District.
 8          6.    On information and belief, Defendant Guangdong Apaltek Liquid
 9   Cooling Technology Co., Ltd. (“GALCT”) is a corporation organized under the laws
10   of China with a principal place of business at Factory: No.12, West 2nd Lane,
11   Shenzhenzai Road, Qingxi Town, Dongguan City, People’s Republic of China. On
12   information and belief, GALCT does business itself, or through its subsidiaries,
13   affiliates, and agents, in the State of California and this District.
14          7.    On information and belief, Defendant SilverStone Technology Co., Ltd.
15   (“SSTC”) is a corporation organized under the laws of Taiwan with a principal place
16   of business at 12F, No. 168, Jiankang Road, Zhonghe District, New Taipei City,
17   Taiwan 23585. On information and belief, SSTC does business itself, or through its
18   subsidiaries, affiliates, and agents, in the State of California and this District.
19          8.    On information and belief, Defendant SilverStone Technology, Inc.
20   (“SSTI”) is a corporation organized under the laws of the State of California with a
21   principal place of business at 13626 Monte Vista Ave., Unit A, Chino, CA 91710.
22   On information and belief, SSTI does business in the State of California and this
23   District.
24          9.    On information and belief, Defendant Enermax Technology Corp.
25   (“ETC”) is a corporation organized under the laws of Taiwan with a principal place
26   of business at 2F-1, No 888, Jingguo Rd., Taoyuan Dist., Taoyuan City 330, Taiwan.
27   On information and belief, ETC does business itself, or through its subsidiaries,
28   affiliates, and agents, in the State of California and this District.
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 1         10.    On information and belief, Defendant Enermax USA (“EUSA”) is a
 2   corporation organized under the laws of the State of California with a principal place
 3   of business at 14020 Central Ave., Suite 500, Chino, CA 91710. On information and
 4   belief, EUSA does business in the State of California and this District.
 5                             PLAINTIFF’S PATENT RIGHTS
 6         11.     Plaintiff is the sole and exclusive owner, by assignment, of U.S. Patent
 7   Nos. 10,509,446 (the ‘446 patent); 11,061,450 (the ‘450 patent); and D856,941 (the
 8   ‘941 patent) (collectively, the “Asserted Patents”). True and correct copies of the
 9   Asserted Patents are attached hereto as Exhibits 1, 3, and 5, respectively, and are
10   incorporated herein by reference.
11         12.    By written instruments executed, Plaintiff has been assigned all rights,
12   title, and interest in the Asserted Patents, including all rights to enforce and prosecute
13   actions for infringement and to collect damages for all relevant times against
14   infringers of the Asserted Patents. As such, Plaintiff has sole and exclusive standing
15   to assert the Asserted Patents and to bring these causes of action.
16         13.    The Asserted Patents are valid and enforceable, and were duly issued in
17   full compliance with Title 35 of the United States Code.
18                       DEFENDANTS’ INFRINGING PRODUCTS
19         14.    Defendants’ infringing products include at least the SilverStone
20   ICEMYST 240, PF240, PF240W, ICEGEM360, VIDA 240 Slim, and RGB
21   Controller, and the Enermax Aquafusion ADV, Liqmax III ARGB, Liqtech 360 TR4
22   II Slim, and RGB Controller. The charts attached hereto as Exhibits 2, 4, and 6,
23   which demonstrate how certain exemplary products associated with Defendants
24   practice the technology claimed in certain exemplary claims of the Asserted Patents,
25   are incorporated herein by reference.
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 1                                FIRST CLAIM FOR RELIEF
 2                              (Infringement of the ‘446 Patent)
 3         15.    Plaintiff refers to the allegations of paragraph 1 through 14 above and
 4   incorporates them by reference as though fully set forth therein.
 5         16.    Direct Infringement. Defendants have been and continue to directly
 6   infringe one or more claims of the ’446 patent in at least this District by making,
 7   using, offering to sell, selling, and/or importing, without limitation, at least the
 8   products identified in the charts incorporated into this Claim for Relief (the
 9   “Exemplary ‘446 Defendant Products”) that infringe at least the exemplary claims of
10   the ’446 patent also identified in the charts incorporated into this Claim for Relief
11   (the “Exemplary ’446 Patent Claims”) literally or by the doctrine of equivalents. On
12   information and belief, numerous other devices that infringe the claims of the ’446
13   patent have been made, used, sold, imported, and offered for sale by Defendants
14   and/or their customers.
15         17.    Actual Knowledge of Infringement. At a minimum, the service of this
16   Complaint, in conjunction with the attached claim charts and references cited,
17   establishes actual knowledge of infringement as alleged herein.
18         18.    Despite such actual knowledge, Defendants continue to make, use, test,
19   sell, offer for sale, market, and/or import into the United States, products that infringe
20   the ’446 patent. On information and belief, Defendants have also continued to sell
21   the Exemplary ‘446 Defendant Products and distribute product literature and website
22   materials inducing end users and others to use their products in the customary and
23   intended manner that infringes the ’446 Patent.
24         19.    Induced Infringement. At least since being served with this Complaint
25   and corresponding claim charts, Defendants have actively, knowingly, and
26   intentionally continued to induce infringement of the ’446 patent, literally or by the
27   doctrine of equivalents, by selling Exemplary ‘446 Defendant Products to their
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 1   customers for use in end-user products in a manner that infringes one or more claims
 2   of the ’446 patent.
 3         20.    Exhibit 2, incorporated herein by reference, includes charts comparing
 4   the Exemplary ’446 Patent Claims to the Exemplary ‘446 Defendant Products. As set
 5   forth in these charts, the Exemplary ‘446 Defendant Products practice the technology
 6   claimed by the ’446 patent. Accordingly, the Exemplary ‘446 Defendant Products
 7   incorporated in these charts satisfy all elements of the Exemplary ’446 Patent Claims.
 8         21.    Plaintiff is entitled to recover damages in an amount according to proof
 9   and adequate to compensate for Defendants’ infringement.
10                              SECOND CLAIM FOR RELIEF
11                              (Infringement of the ‘450 Patent)
12         22.    Plaintiff refers to the allegations of paragraph 1 through 14 above and
13   incorporates them by reference as though fully set forth therein.
14         23.    Direct Infringement. Defendants have been and continue to directly
15   infringe one or more claims of the ’450 patent in at least this District by making,
16   using, offering to sell, selling, and/or importing, without limitation, at least the
17   products identified in the charts incorporated into this Claim for Relief (the
18   “Exemplary ‘450 Defendant Products”) that infringe at least the exemplary claims of
19   the ’450 patent also identified in the charts incorporated into this Claim for Relief
20   (the “Exemplary ’450 Patent Claims”) literally or by the doctrine of equivalents. On
21   information and belief, numerous other devices that infringe the claims of the ’450
22   patent have been made, used, sold, imported, and offered for sale by Defendants
23   and/or their customers.
24         24.    Actual Knowledge of Infringement. At a minimum, the service of this
25   Complaint, in conjunction with the attached claim charts and references cited,
26   establishes actual knowledge of infringement as alleged herein.
27         25.    Despite such actual knowledge, Defendants continue to make, use, test,
28   sell, offer for sale, market, and/or import into the United States, products that infringe
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 1   the ’450 patent. On information and belief, Defendants have also continued to sell
 2   the Exemplary ‘450 Defendant Products and distribute product literature and website
 3   materials inducing end users and others to use their products in the customary and
 4   intended manner that infringes the ’450 Patent.
 5         26.    Induced Infringement. At least since being served with this Complaint
 6   and corresponding claim charts, Defendants have actively, knowingly, and
 7   intentionally continued to induce infringement of the ’450 patent, literally or by the
 8   doctrine of equivalents, by selling Exemplary ‘450 Defendant Products to their
 9   customers for use in end-user products in a manner that infringes one or more claims
10   of the ’450 patent.
11         27.    Exhibit 4, incorporated by reference herein, includes charts comparing
12   the Exemplary ’450 Patent Claims to the Exemplary ‘450 Defendant Products. As set
13   forth in these charts, the Exemplary ‘450 Defendant Products practice the technology
14   claimed by the ’450 patent. Accordingly, the Exemplary ‘450 Defendant Products
15   incorporated in these charts satisfy all elements of the Exemplary ’450 Patent Claims.
16         28.    Plaintiff is entitled to recover damages in an amount according to proof
17   and adequate to compensate for Defendants’ infringement.
18                               THIRD CLAIM FOR RELIEF
19                              (Infringement of the ‘941 Patent)
20         29.    Plaintiff refers to the allegations of paragraph 1 through 14 above and
21   incorporates them by reference as though fully set forth therein.
22         30.    Direct Infringement. Defendants have been and continue to directly
23   infringe the single claim of the ’941 patent (Figures 1 and 5) in at least this District
24   by making, using, offering to sell, selling, and/or importing, without limitation, at
25   least the products identified in the charts incorporated into this Claim for Relief (the
26   “Exemplary ‘941 Defendant Products”) that infringe at least the single claim of
27   the ’941 patent literally or by the doctrine of equivalents. On information and belief,
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 1   numerous other devices that infringe the claim of the ’941 patent have been made,
 2   used, sold, imported, and offered for sale by Defendants and/or their customers.
 3         31.    Actual Knowledge of Infringement. At a minimum, the service of this
 4   Complaint, in conjunction with the attached claim charts and references cited,
 5   establishes actual knowledge of infringement as alleged herein.
 6         32.    Despite such actual knowledge, Defendants continue to make, use, test,
 7   sell, offer for sale, market, and/or import into the United States, products that infringe
 8   the ’941 patent. On information and belief, Defendants have also continued to sell
 9   the Exemplary ‘941 Defendant Products and distribute product literature and website
10   materials inducing end users and others to use their products in the customary and
11   intended manner that infringes the ’941 Patent.
12         33.    Induced Infringement. At least since being served with this Complaint
13   and corresponding claim charts, Defendants have actively, knowingly, and
14   intentionally continued to induce infringement of the ’941 patent, literally or by the
15   doctrine of equivalents, by selling Exemplary ‘941 Defendant Products to their
16   customers for use in end-user products in a manner that infringes the single claim of
17   the ’941 patent.
18         34.    Exhibit 6, incorporated by reference herein, includes charts comparing
19   the single claim of the ‘941 patent (Figures 1 and 5) to the Exemplary ‘941
20   Defendant Products. As set forth in these charts, the Exemplary ‘941 Defendant
21   Products include a LED controller with a design that an ordinary observer would find
22   to be substantially the same as that depicted and claimed in the ‘941 patent.
23         35.    Plaintiff is entitled to recover damages in an amount according to proof
24   and adequate to compensate for Defendants’ infringement.
25                                  PRAYER FOR RELIEF
26         WHEREFORE, Plaintiff CMI USA, Inc. respectfully requests judgment in its
27   favor, and against Defendants, as follows:
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 1                  1.   A judgment that the Asserted Patents are valid and
 2   enforceable;
 3                  2.   A judgment that Defendants have infringed directly or
 4   indirectly one or more claims of each of the Asserted Patents;
 5                  3.   Awarding Plaintiff its damages suffered because of
 6   Defendants’ infringement of the Asserted Patents;
 7                  4.   Awarding Plaintiff its costs, reasonable attorneys’ fees,
 8   expenses, and interest; and
 9                  5.   Granting Plaintiff such further relief as the Court finds
10   appropriate.
11

12   Dated: February 13, 2024         JEFFREY D. WEXLER
13
                                      PILLSBURY WINTHROP SHAW PITTMAN LLP

14                                    DONALD R. MCPHAIL
                                      ERIC W. SCHWEIBENZ
15                                    JOHN S. KERN
16                                    ALEXANDER B. ENGLEHART
                                      OBLON, MCCLELLAND, MAIER
17                                      & NEUSTADT, L.L.P.
18

19                                       /s/ Jeffrey D. Wexler
20                                    Jeffrey D. Wexler

21                                    Attorneys for Plaintiff CMI USA, Inc.

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 1                              DEMAND FOR JURY TRIAL
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 3
           Pursuant to Rule 38 of the Federal Rules of Civil Procedure and Local Rule 38-

 4
     1, Plaintiff CMI USA, Inc. hereby demands a trial by jury.

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 6
     Dated: February 13, 2024       JEFFREY D. WEXLER
                                    PILLSBURY WINTHROP SHAW PITTMAN LLP
 7
                                    DONALD R. MCPHAIL
 8                                  ERIC W. SCHWEIBENZ
 9                                  JOHN S. KERN
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13                                     /s/ Jeffrey D. Wexler
                                    Jeffrey D. Wexler
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                                    Attorneys for Plaintiff CMI USA, Inc.
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